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   12                     UNITED STATES DISTRICT COURT
   13       CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
   14
   15 VANS, INC.; and VF OUTDOOR,              Case No. 8:21-cv-01876
      LLC,,
   16                                          [Hon. David O. Carter]
                Plaintiffs,
   17                                          DEFENDANT WALMART INC.’S
            vs.                                MEMORANDUM OF POINTS AND
   18                                          AUTHORITIES IN OPPOSITION
      WALMART, INC.; THE DOLL                  TO PLAINTIFFS’ MOTION FOR
   19 MAKER, LLC; and TRENDY                   PRELIMINARY INJUNCTION
      TRADING, LLC,,
   20                                          Date: February 14, 2022
                Defendants.                    Time: 8:30 a.m.
   21                                          Court: 9D
   22                                          Complaint Filed: November 15, 2021
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         REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
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    1 I.      INTRODUCTION
    2         Plaintiffs Vans, Inc. and VF Outdoor, LLC (together, “Vans”) are seeking the
    3 extraordinary remedy of a preliminary injunction – the issuance of which would cost
    4 defendant Walmart Inc. (“Walmart”) tens of millions of dollars – in a case that does
    5 not involve alleged counterfeiting, does not involve identical marks, and in which
    6 Vans’ claims are weak and the issues of infringement and validity of Vans’
    7 purported trade dress are hotly contested. There was no urgency precipitating this
    8 motion. Vans filed the motion at least eighteen months after Walmart began selling
    9 accused shoes, nine months after Vans engaged in communications with Walmart
   10 about the accused shoes, and more than one month after filing the complaint. Vans
   11 is not losing sales and its reputation is not being diminished. Vans is not suffering
   12 any irreparable harm.1
   13         For Walmart, on the other hand, entry of a preliminary injunction would
   14 result in significant tangible harm. Walmart would lose sales estimated to be at least
   15 $28.8 million. In addition, Walmart would incur the enormous logistical costs of
   16 removing from sale and disposing of more than 2 million pairs of shoes from
   17 thousands of stores across the country, estimated to be at least $1.4 million. Perhaps
   18 not surprisingly, nowhere in the hundreds of pages filed by Vans in support of its
   19 motion is there any mention of the requirement that it post security in the event its
   20 motion is granted. Fed. R. Civ. P. 65(c).
   21         Vans is not likely to prevail on the merits. Its so-called trade dress, based on
   22 common law rights, is comprised of common elements – a rubberized sidewall with
   23 consistent height; upper portion of sidewall having a grooved appearance; textured
   24 toe box around front of the sidewall; visible stitching -- all used by numerous
   25
   26         1
              All accused shoes sold by third-parties on Walmart’s online marketplace
      already have been removed from sale. Co-defendants and third-party sellers, The
   27 Doll Maker, LLC and Trendy Trading, LLC, have consented to a preliminary
      injunction (ECF No. 25), thereby further obviating any potential harm to Vans.
   28
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    1 sneaker brands, a small sample of which is below2:
    2
    3
    4
    5                Airwalk                       DC                         Etnies

    6
    7
    8
    9                Lakai                        Vox                        Air Speed

   10
   11
   12
                    Emerica                      Hurley
   13 Thus, Vans’ alleged “trade dress” is not unique to Vans and is wholly unprotectable.
   14         The only aspect of Vans’ asserted trade dress that is arguably distinctive is the
   15 logo, the so-called Side Stripe Mark. However, the design on Walmart’s shoes is
   16 totally different than the Vans Side Stripe Mark. Walmart’s design, in which the
   17 front and rear “legs” are virtually parallel to one another, brings to mind various
   18 foreign letters, such as the Greek letter Pi, π, the Hebrew letter Tav, ‫ת‬, and the
   19 Cyrillic letter L, Л. It is strikingly different from the Vans “wave,” and the overall
   20 commercial impression of the designs is completely different.
   21
   22
   23
   24                          Vans                                Walmart
   25 The vastly different logo designs alone are enough to obviate any likelihood of
   26
            2
              More examples of sneakers with these elements are attached to the
   27 declarations of Sarah Butler (Butler Decl. ¶ 11, Ex. D) and Danica Acosta (Acosta
      Decl. Ex. 1).
   28
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    1 confusion, particularly in a sneaker market where shoe designs are often quite
    2 similar, and the logo is an important distinguishing feature.
    3        Moreover, Walmart’s shoes, which all sell for less than $20, are only sold at
    4 Walmart stores and on Walmart.com. They all are sold with Walmart labeling as
    5 well as labeling of Walmart’s in-house apparel brands (i.e., Time and Tru, No
    6 Boundaries, and Wonder Nation), each of which is a registered trademark.
    7
    8
    9
   10
   11
   12
   13
   14                               Walmart Wonder Nation Shoes

   15 For example, Walmart’s Wonder Nation shoes shown above are sold on a plastic
   16 hanger with a sizeable Wonder Nation hang tag, and the Wonder Nation mark
   17 appears on both the inner sole and the outer sole of the shoes. Walmart shoppers
   18 know what they are buying, and they are not confused or tricked into believing that
   19 they are buying Vans shoes.
   20        Vans seeks to support its infringement arguments with deeply flawed and
   21 biased surveys. Aside from testing only two of the approximately twenty shoe
   22 models alleged to infringe, the universe of survey respondents only included
   23 consumers who would pay more than $30 for “skate shoes,” thereby effectively
   24 excluding the entirety of Walmart’s shoe customers from the surveys. In addition,
   25 the consistent reference to the tested products as “skate shoes” throughout the
   26 surveys, rather than simply shoes or sneakers, introduced a bias known as a
   27
   28
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    1 “demand effect”3 that skewed the survey results. (None of the accused shoes sold
    2 under Walmart’s Time and Tru or No Boundaries brands are called “skate shoes.”
    3 The shoes tested by Vans’ expert are offered for sale by Walmart as “Retro”
    4 sneakers.) The likelihood of confusion surveys are further flawed because they seek
    5 to measure only post-sale confusion and do not measure point-of-sale confusion.
    6 This is especially problematic where the accused shoes are sold only at Walmart
    7 stores and on Walmart.com. The numerous deficiencies in the Vans surveys are
    8 addressed more fully below and in the declaration of Sarah Butler filed herewith.
    9 Walmart has not yet had the opportunity to conduct its own survey.
   10          Vans also seeks to support its arguments with materials from the internet,
   11 such as social media posts, that lack foundation, are unauthenticated, and constitute
   12 hearsay. These documents are not admissible evidence. However, even assuming,
   13 arguendo, that this documentation were admissible evidence, it does not support
   14 Vans’ arguments. For example, social media posts that Vans relies on to show
   15 actual confusion do the opposite: they show that consumers are not confused and
   16 can easily distinguish Vans from Walmart brands. For example, someone named
   17 “Laurie (Passionate Penny Pincher)” purportedly says that Walmart’s $7 shoes
   18 “Look Like $60 Vans!”4 This statement, and statements like it, illustrate that
   19 consumers are not confused and can easily distinguish between Vans and Walmart
   20 shoes.
   21          While Vans devoted most of its brief to the merits of its infringement claims,
   22 it all but ignored the remaining factors which are also indispensable to the issuance
   23 of a preliminary injunction. Vans provided no explanation for its months-long delay
   24 in making the motion, which serves to rebut the presumption of irreparable harm.
   25
             3
               The demand effect encouraged the survey respondents to simply name a top
   26 of mind skateboarding shoe brand rather than accurately measure the association of
      the tested shoe with Vans. Butler Decl. ¶¶ 4-7.
   27
             4
               ECF No. 21-39, Hoffman Decl. at page 4.
   28
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     1 With the presumption rebutted, Vans provided no competent evidence that its
     2 business is suffering irreparable harm. It did not, and could not, provide any
     3 evidence that it is losing sales to Walmart. And Vans provided no credible evidence
     4 of damage to its reputation or goodwill. Vans relied on self-serving declarations
     5 from its employees containing conclusory statements cut and pasted from its
     6 Complaint that this Court should discount when assessing the irreparable harm
     7 element.
     8         Walmart’s position on the merits is strong. The parties’ shoes bear different
     9 designs and are sold in distinct channels of commerce; no rational consumer is
    10 likely to confuse the products, particularly at the point of sale. Yet, the Court need
    11 not even reach the merits. Vans falls woefully short of carrying its burden to prove
    12 that it is suffering irreparable harm and that the balance of hardships weighs in its
    13 favor. Its motion should be denied on those bases alone.
    14 II.     FACTUAL BACKGROUND
    15         Walmart began selling accused shoes in June 2020 and have been selling
    16 them continuously since then. Carroll Decl. ¶ 5. The shoes are sold only at Walmart
    17 stores and online at Walmart.com under the Time and Tru (women’s), No
    18 Boundaries (men’s and women’s), and Wonder Nation (children’s) in-house brands.
    19 Carroll Decl. ¶¶ 3, 6.
    20         Vans first made allegations of infringement of its Side Stripe Mark and
    21 purported trade dress in March 2021 and engaged Walmart in discussions about
    22 Walmart’s shoes at that time. Acosta Decl. ¶¶ 4-5. After conducting a thorough
    23 investigation and evaluating Vans’ claims, Walmart’s in-house counsel provided a
    24 cogent written response rebutting Vans’ allegations of infringement on April 19,
    25 2021. Acosta Decl. ¶ 6; Ex. 1. Walmart’s response detailed the significant
    26 differences between the Vans Side Stripe Mark and Walmart’s side design, and it
    27 also included charts showing examples of the numerous third party sneakers in the
    28 marketplace that incorporate features claimed by Vans to be its proprietary trade
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     1 dress. Acosta Decl. Ex. 1. After receiving this correspondence from Walmart in
     2 April 2021, Vans did not respond and took no action against Walmart. Acosta Decl.
     3 ¶ 7. Walmart continued with its business. Not until seven months later, on
     4 November 15, 2021, did Vans respond by filing this lawsuit.
     5        Even then, Vans displayed a lack of urgency. No motion for preliminary
     6 injunction accompanied its Complaint. Only after allowing 1 ½ more months to
     7 pass did Vans decide that it was being irreparably harmed and needed immediate
     8 injunctive relief and filed its motion the first business day following Christmas.
     9 III.   SOWERS SURVEYS ARE BIASED AND UNRELIABLE
    10        To support its preliminary injunction motion, Vans engaged survey expert
    11 Brian Sowers who designed and conducted four surveys – two secondary meaning
    12 surveys and two post-sale likelihood of confusion surveys. As set forth below and
    13 in the declaration of Walmart’s rebuttal expert, Sarah Butler, these surveys are
    14 biased and unreliable. Remarkably, as will be discussed further below, Vans did not
    15 conduct any survey purporting to test confusion at the point of sale.
    16        A.     Secondary Meaning Surveys
    17        Mr. Sowers’ secondary meaning surveys are insufficient for determining
    18 whether the Vans shoes tested have acquired secondary meaning. At the outset, the
    19 screening questions limited the universe of respondents to consumers who were
    20 “likely to purchase skate shoes.” ECF No. 21-36, Sowers Report ¶ 3. Thus,
    21 consumers who were simply likely to purchase sneakers, but not necessarily “skate
    22 shoes,” were excluded. Limiting the respondents to such a particular consumer
    23 skewed the results of the surveys from the very beginning. Butler Decl. ¶ 3.
    24        Thereafter, the survey questions primed respondents by making repeated
    25 references to “skate shoes.” Butler Decl. ¶¶ 3, 4. For example, question 1 asked
    26 respondents “whether they associated the design and appearance of the skate shoes
    27 with one company, more than one company, or no particular company.” Sowers
    28 Report at ¶¶ 53, 66. These repeated references to “skate shoes” throughout the
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     1 surveys created demand effects, i.e., encouraged respondents to simply name the top
     2 of mind brand selling skateboarding style shoes rather than sneakers generally.
     3 Butler Decl. ¶ 3.
     4         In addition, the surveys did not include any open-ended questions asking why
     5 respondents believed the “skate shoe” was made by Vans. Consequently, there is no
     6 way to evaluate the extent to which the responses were generated as a result of the
     7 biased questions. Butler Decl. ¶¶ 6-7.
     8         Finally, the Control sneaker used by Mr. Sowers did not contain the typical
     9 elements of a “skate shoe” and therefore could not control for the suggestiveness of
    10 his survey questions. Butler Decl. ¶¶ 3, 9, 10; Ex. C. There are numerous other
    11 brands selling “skate shoes” that have many of the common elements found in the
    12 Vans sneakers tested. Butler Decl. ¶ 11; Ex. D. Despite the fact that there is a style
    13 of shoe associated with skateboarding, Mr. Sowers used a running shoe for his
    14 Control. The combination of a lack of open ended questions and the poor Control
    15 makes the responses to these surveys meaningless.
    16         B.    Likelihood of Confusion Surveys
    17         The likelihood of confusion surveys were similarly flawed and unreliable. As
    18 Mr. Sowers stated in his report, “[t]o measure likelihood of post-sale confusion, the
    19 appropriate universe is potential customers of both the junior user and the senior
    20 user. Accordingly, for both surveys, potential purchasers of the Walmart and Vans
    21 skate shoes at issue are the individuals whose confusion would be relevant in this
    22 matter.” Sowers Report at ¶ 69; Butler Decl. ¶ 15. Despite this clear guideline, Mr.
    23 Sowers’ screening process excluded potential purchasers of Walmart’s shoes.
    24         Specifically, survey respondents “had to have at least some involvement in
    25 choosing which brand of skate shoes to purchase and indicate that they would
    26 consider paying more than $30 for the skate shoes.” Sowers Report at ¶ 69
    27 (emphasis added). This screening process served to exclude Walmart customers
    28 because (1) Walmart does not call its sneakers “skate shoes” and (2) Walmart’s
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     1 sneakers cost less than $20 and customers may not consider paying “more than $30”
     2 for sneakers. So once again, Mr. Sowers’ screening process skewed the survey
     3 results from the beginning. Butler Decl. ¶¶ 3, 15.
     4        The substance of the surveys was similarly flawed. As in the secondary
     5 meaning surveys, Mr. Sowers repeatedly primed respondents to think about brands
     6 of “skate shoes.” Butler Decl. ¶ 16. This priming is even more problematic in the
     7 confusion studies, as Walmart does not classify the sneakers sold under its Time and
     8 Tru and No Boundaries brands, including the sneakers tested by Mr. Sowers, as
     9 “skate shoes.” Butler Decl. ¶ 18. Walmart calls them “Retro” sneakers. Mr. Sowers
    10 referred to “skate shoes” 23 times in his confusion surveys. Butler Decl. ¶ 16.
    11        Mr. Sowers also only conducted surveys seeking to measure post-sale
    12 confusion. Butler Decl. ¶¶ 20-21. He did not conduct a survey to measure point-of-
    13 sale confusion, which would include showing sneakers with Walmart’s in-house
    14 labeling. Mr. Sowers knew that such a survey would show no confusion.
    15        Mr. Sowers also used the same flawed Control sneakers in the confusion
    16 surveys, making it impossible to estimate the extent to which mentions of Vans are
    17 artifacts of being asked to name a top of mind “skate shoe.” Butler Decl. ¶ 19.
    18        Unlike in his secondary meaning surveys, Mr. Sowers did include open-ended
    19 questions in his confusion surveys. A number of these responses demonstrate results
    20 attributable to “noise” (i.e., guessing and/or demand effects). Further, verbatim
    21 responses from the Control group provide evidence that the Control sneaker is
    22 inappropriate. Butler Decl. ¶ 19.
    23        The effects of Mr. Sowers’ biased questioning and repeated references to
    24 “skate shoes” becomes clear when reviewing responses to the open-ended questions.
    25 A number of respondents indicated that the reason they identified Vans was because
    26 it was a well-known, top of mind skate shoe brand. For example, Respondent 3095
    27 stated “Vans makes some skater shoes so I associate skater shoes with them most.”
    28 Respondent 2859 explained, “skater shoes are typically made by vans.” Similarly,
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     1 Respondent 1716 said “vans is the leader in skate shoes;” and Respondent 2204
     2 explained, “thats really the only brand of skate shoes that i know of and these are
     3 kind of low cut like the style that vans would be.” These responses do not reference
     4 the specific design elements alleged to be at issue but instead reflect the fact that
     5 Vans is a well-known skate shoe brand. Butler Decl. ¶ 17. Mr. Sowers ignored
     6 these statements in his analysis.
     7         Finally, Mr. Sowers did not identify how or why he selected the two shoes he
     8 tested from the range of shoes accused in this case. The testing of two styles does
     9 not cover all of the accused shoes and styles and his results, without further
    10 evidence, are limited to these particular shoes.5
    11 IV.     “EXTRAORDINARY REMEDY” REQUESTED BY VANS
    12         “[A] preliminary injunction is an extraordinary and drastic remedy, one that
    13 should not be granted unless the movant, by a clear showing, carries the burden of
    14
    15         5
                 In addition to Mr. Sowers’ surveys, Vans included several older surveys that
         are not relevant and provide no support to Vans’ motion.
    16
              First, a 2020 survey report by the Piper Sandler research firm entitled “Taking
    17 Stock With Teens Survey” (ECF No. 21-3, Callahan Decl. Ex. 1) purports to be a
       broad examination of teen habits and trends. (There is no foundation provided by
    18 Vans for this hearsay evidence.) Most of the report and the surveys are not limited
       to shoes, and the portions that are related to shoes do not address the particular shoes
    19 and designs at issue in this case. This information has no relevance to the issues
       presently before the Court.
    20
              Another survey included by Vans was a 2014 survey conducted by Hal Poret
    21 purporting to measure whether Vans’ checkerboard slip-on marks had acquired
       secondary meaning. (ECF No. 21-14, Wimmer Decl. Ex. 10.) Since the allegedly
    22 infringing “Doll Maker” Slip-On shoe has been pulled from sale, and third-party
       sellers The Doll Maker and Trendy Trading have consented to a preliminary
    23 injunction, Mr. Poret’s survey has no relevance to the issues before the Court.
    24        Finally, there is a set of surveys conducted in 2019 by Michael Rappeport.
       (ECF No. 21-9, Wimmer Decl. Ex. 5.) Two of these surveys purport to measure
    25 whether Vans’ alleged Old Skool and Sk8-Hi trade dresses have acquired secondary
       meaning. However, the universe of survey respondents for these studies was limited
    26 to people aged 16 to 30. This limited universe skewed the results significantly. Mr.
       Rappeport’s Old Skool survey reaches a result with a more than 30% differential
    27 from the result reached by Mr. Sowers for the same shoe and trade dress. The
       results of these surveys are all skewed and worthless.
    28
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     1 persuasion.” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (emphasis in original,
     2 citation omitted). “A plaintiff seeking a preliminary injunction must establish that
     3 he is likely to succeed on the merits, that he is likely to suffer irreparable harm in the
     4 absence of preliminary relief, that the balance of equities tips in his favor, and that
     5 an injunction is in the public interest.” Winter v. Natural Res. Def. Council, Inc., 555
     6 U.S. 7, 20 (2008) (emphasis added). Before Winter, the Ninth Circuit applied a
     7 flexible standard to these four requirements; a stronger showing on one could
     8 alleviate the strength of showing required on another. Stormans, Inc. v. Selecky, 586
     9 F.3d 1109, 1127 (9th Cir. 2009). However, “[a]pplying Winter,” the Ninth Circuit
    10 has “since held that, ‘[t]o the extent that our cases have suggested a lesser standard,
    11 they are no longer controlling, or even viable.’” Id. Accordingly, Vans must make
    12 a “clear showing” on all four elements. Id.
    13         Finally, the Court “should pay particular regard for the public consequences
    14 in employing the extraordinary remedy of injunction.” Winter, 555 U.S. at 24.
    15 V.      VANS’ DELAY REBUTS PRESUMPTION OF IRREPARABLE HARM
    16         Vans’ unexplained delay in seeking injunctive relief compels the denial of its
    17 motion. The Ninth Circuit has held that a “long delay before seeking a preliminary
    18 injunction implies a lack of urgency and irreparable harm.” Oakland Tribune, Inc. v.
    19 Chronicle Pub. Co., Inc., 762 F.2d 1374, 1377 (9th Cir. 1985).
    20         In situations such as this where a plaintiff delays after sending a cease and
    21 desist letter, even if the parties continue to communicate back and forth, courts have
    22 not found irreparable harm. See, e.g., iFreedom Direct Corp. v. McCormick, 2016
    23 WL 9049647 (C.D. Cal. June 15, 2016)(ten-month delay filing complaint after
    24 sending cease and desist letter, and further one-month delay filing preliminary
    25 injunction motion after the complaint, undermined plaintiff’s claim of irreparable
    26 harm). See also Hanginout, Inc. v. Google, Inc., 54 F. Supp. 3d 1109, 1132-33
    27 (S.D. Cal. 2014) (suggesting that a seven-month delay weighs against a finding of
    28 irreparable harm).
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     1         Even delays of only a few months belie a claim of irreparable harm and
     2 preclude injunctive relief. See Playboy Enters., Inc. v. Netscape Commc'ns Corp.,
     3 55 F.Supp.2d 1070, 1090 (C.D. Cal. 1999) (a five month delay in seeking injunctive
     4 relief “demonstrates the lack of any irreparable harm”); Stokely–Van Camp, Inc. v.
     5 Coca–Cola Co., 1987 WL 6300, 2 U.S.P.Q.2d 1225, 1227 (N.D.Ill.1987) (“the fact
     6 the [plaintiff] waited for three months indicates a lack of need for the extraordinary
     7 remedy of a preliminary injunction”); Valeo Intellectual Prop., Inc. v. Data Depth
     8 Corp., 368 F. Supp. 2d 1121, 1128 (W.D. Wash. 2005) (three month delay).
     9         Van’s motion seeks to stop sales that have been continuing for more than one
    10 year, during which time Vans was aware of Walmart’s shoe design. See, e.g., ECF
    11 No. 1, Complaint ¶ 162 (Facebook posts showing Walmart’s shoes by “Live Laugh
    12 Dress” dated July 3, 2020 and “Chic Bargain Finds” dated July 17, 2020).
    13         After a series of communications between Vans and Walmart in March and
    14 April 2021, Walmart did not hear from Vans for seven months, until the Complaint
    15 was filed. Acosta Decl. ¶ 7. Walmart’s April 2021 correspondence to Vans had
    16 detailed the significant differences between the Vans Side Stripe Mark and
    17 Walmart’s side design, and it also included charts showing examples of the
    18 numerous third party sneakers in the marketplace that incorporate features claimed
    19 by Vans to be its proprietary trade dress. Acosta Decl. Ex. 1. After not hearing
    20 from Vans for seven months, the filing of the Complaint came as a surprise to
    21 Walmart. The holiday filing of the preliminary injunction motion 1 ½ months after
    22 the Complaint was filed came as even more of a surprise, as there cannot possibly be
    23 any urgency on the part of Vans. Vans’ delay serves to rebut the presumption of
    24 irreparable harm under 15 U.S.C. § 1116(a).
    25         A.    Vans Is Not Suffering Irreparable Harm
    26         Because Vans’ delay serves to rebut the presumption of irreparable harm,
    27 Vans now must be “required to demonstrate, by the introduction of admissible
    28 evidence and with a clear likelihood of success that the harm is real, imminent and
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     1 significant, not just speculative or potential.” Groupion, LLC v. Groupon, Inc., 826
     2 F.Supp.2d 1156, 1167 (N.D. Cal. 2011). Vans falls far short of carrying that burden.
     3         In its motion papers, Vans principally relied on the newly enacted statutory
     4 presumption and only made cursory, unsupported arguments regarding irreparable
     5 harm. These arguments included that Walmart’s alleged infringement interferes
     6 with Vans’ right to control distribution of its products, and that the alleged poor
     7 quality of Walmart’s shoes adversely impacts Vans’ reputation and goodwill. These
     8 conclusory allegations were supported by nothing more than self-serving,
     9 conclusory declarations from Vans’ own employees. Vans has not alleged the loss
    10 of a single sale of shoes.
    11         The “existence of intangible harms such as the loss of goodwill must be
    12 shown by evidence.” Active Sports Lifestyle USA, LLC v. Old Navy, LLC, 2014
    13 U.S. Dist. LEXIS 45575 at *5 (C.D. Cal. Mar. 21, 2014). Vans has proffered no
    14 evidence that it has suffered diminishment of its reputation, that its distribution
    15 channels have been affected, or that its markets have been oversaturated.
    16         The declaration of Vans Vice President, Daniel Callahan, cited by Vans in
    17 support of its argument for irreparable harm, contains generalized statements about
    18 Vans’ distribution channels and controls of those channels. Those distribution
    19 channels include retailers such as Nordstrom’s, Urban Outfitters, Foot Locker, and
    20 Vans’ own retail stores. ECF No. 21-2, Callahan Decl. ¶ 20. These are different
    21 than Walmart’s channels since Walmart’s shoes are sold only at Walmart stores and
    22 on Walmart.com. Carroll Decl. ¶¶ 6, 13. There is no evidence of any nexus
    23 between allegations of market saturation by Walmart and alleged damage to Vans’
    24 reputation. Vans’ allegations of harm are purely speculative and do not make sense
    25 in view of the different distribution channels. If such evidence were to exist, one
    26 would expect it to be proffered since Walmart’s shoes have co-existed with Vans’
    27 shoes for well over one year.
    28         Allegations of poor or inferior quality also must be grounded in evidence.
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     1 Adidas Am., Inc. v. Skechers USA, Inc., 890 F.3d 747, 760 (9th Cir. 2018). Since
     2 Vans only alleges post-sale confusion and does not allege confusion at the point of
     3 sale, Vans does not explain how it is harmed by alleged poor quality of Walmart’s
     4 shoes. Vans must provide evidence that poor quality seen from afar, on people
     5 wearing Walmart’s shoes, negatively impacts Vans’ reputation and goodwill. Id. at
     6 760-61. Vans makes no such showing.
     7         As with the declaration of Daniel Callahan, the declaration of Justin Regan,
     8 another Vans manager, provides no more than conclusory statements to support
     9 Vans’ claims of irreparable harm. For example, his statement that “Vans’ loss of
    10 control over how it markets and promotes products bearing its trademarks and trade
    11 dress rights will irreparably harm Vans’ goodwill and reputation . . .” (ECF No. 21-
    12 21, Regan Decl. ¶ 49) is a “conclusory statement, without citation to any evidence,
    13 [which] is insufficient to make a ‘clear showing’ that the threatened harm is
    14 immediate and irreparable.” ConocoPhillips Co. v. Gonzalez, 2012 WL 538266 at *
    15 3 (N.D. Cal. Feb. 17, 2012); see also iCall, Inc. v. Tribair, Inc., 2012 WL 5878389
    16 at * 14 (N.D. Cal. Nov. 21, 2012) (holding that the “conclusory declaration of
    17 [plaintiff’s] CEO” was insufficient to establish irreparable harm); Am. Passage
    18 Media Corp. v. Cass Commc'ns, Inc., 750 F.2d 1470, 1473 (9th Cir. 1985) (rejecting
    19 “affidavits [that] are conclusory and without sufficient support in facts.”).
    20         In sum, Vans’ “showing” of irreparable harm consisted solely of self-serving,
    21 conclusory allegations that lack any evidentiary support. Since the statutory
    22 presumption of irreparable harm was rebutted, on this basis alone the motion must
    23 be denied.
    24         B.    Accused Shoes of Third Parties Removed From Walmart.com
    25         As reflected in the declaration of Yvonne Yip filed herewith, all accused
    26 shoes being offered for sale by third parties on Walmart’s virtual marketplace on
    27 Walmart.com have been removed from sale. Yip Decl. ¶ 5. In addition, third party
    28 sellers and co-defendants, The Doll Maker, LLC and Trendy Trading, LLC, have
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     1 consented to a preliminary injunction with respect to shoes they were offering for
     2 sale on Walmart.com, and the consent injunction has been entered by the Court.
     3 ECF No. 25. As a result, three of the shoes accused by Vans in the complaint (“Doll
     4 Maker” Slip-On Shoe; “Doll Maker Skate Shoe”; and “WISPR” Toddler Shoes) and
     5 for which they seek an injunction are already enjoined and off sale. Consequently,
     6 Vans will not suffer irreparable harm with respect to shoes sold on the Walmart
     7 marketplace.
     8        C.     Balance Of Equities Overwhelmingly Favors Walmart
     9        Even if the Court were to find that Vans is likely to be irreparably harmed, the
    10 balance of equities overwhelmingly favors denial of the motion. The accused shoes
    11 are sold in thousands of Walmart stores throughout the United States, and Walmart
    12 has approximately 2.2 million pairs of shoes in inventory. Carroll Decl. ¶ 8.
    13 Removal of the shoes from sale would entail not only removal of the shoes from
    14 more than 3,500 stores, but also would entail warehousing and destruction, i.e.,
    15 incineration, of the removed shoes as well as all existing inventory. Carroll Decl. ¶
    16 6-7. (Destruction of the shoes would be necessary due to product quality
    17 deterioration caused by mold and the aging of materials which would occur if the
    18 shoes are warehoused for too long a period of time. Carroll Decl. ¶ 7.) The costs
    19 associated with removal and warehousing of the accused shoes would be
    20 approximately $1.4 million, not including the costs associated with destruction.
    21 Carroll Decl. ¶ 7.
    22        In addition to the costs of removing the shoes from sale and destroying them,
    23 Walmart would also lose all revenue from sales of the shoes. Such lost sales are
    24 projected to be $28.8 million. Carroll Decl. ¶ 8. It is appropriate for the Court to
    25 weigh this tremendous loss of business in determining the balance of the equities.
    26 Wahoo Int’l, Inc. v. Phix Dr., Inc., 2014 U.S. Dist. LEXIS 74927 (S.D. Cal. May 20,
    27 2014).
    28        Vans, on the other hand, has not proffered (and cannot proffer) any evidence
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     1 that sales are being diverted from Vans to Walmart. The alleged “potential harm to
     2 Vans’ brand and reputation” (Vans Br. 24) is totally speculative and not sufficient to
     3 tip the balance of equities in Vans’ favor. Since Walmart’s shoes have been sold
     4 since 2020, any harm to Vans, at this point, should be tangible and measurable. Yet
     5 Vans has provided no such evidence. The harm to Walmart of a preliminary
     6 injunction clearly outweighs any speculative, and unsupported, harm that Vans
     7 could suffer from maintaining the status quo. Vans’ failure to meaningfully address
     8 this element, let alone carry its heavy burden on it, compels that the injunction be
     9 denied.
    10 VI.     VANS CANNOT ESTABLISH A LIKELIHOOD OF SUCCESS
    11         A.    Vans’ Will Not Prevail on its Trade Dress Infringement Claims
    12         Vans’ alleged trade dress has not been registered with the United States
    13 Patent and Trademark Office. Consequently, it is not entitled to the presumption of
    14 validity that such registration affords. In making this motion, Vans is essentially
    15 seeking to circumvent the rigorous application and registration process and have this
    16 Court validate the trade dress without sufficient fact-finding. However, Vans faces
    17 a heavy burden to show, for this motion, that it is likely to succeed on its
    18 unregistered trade dress claims.
    19         To prove infringement of its unregistered trade dress, Vans must demonstrate
    20 that “(1) the trade dress is nonfunctional, (2) the trade dress has acquired secondary
    21 meaning, and (3) there is a substantial likelihood of confusion between the
    22 plaintiff’s and defendant’s products.” Adidas, 890 F. 3d at 754 (internal citation
    23 omitted).
    24         In evaluating the elements of a trade dress claim, “it is crucial that [courts]
    25 focus not on the individual elements, but rather on the overall visual impression that
    26 the combination and arrangement of those elements create.” Clicks Billiards, Inc. v.
    27 Sixshooters, Inc., 251 F.3d 1252, 1259 (9th Cir. 2001); Puma SE v. Forever 21, Inc.,
    28 2017 U.S. Dist. LEXIS 211140 at *11 (C.D. Cal. June 29, 2017).
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     1        Vans’ alleged trade dress, which incorporates elements and overall design that
     2 are prevalent in the industry, has not acquired secondary meaning. Therefore, Vans
     3 cannot succeed on its trade dress infringement claims.
     4        Vans’ Trade Dress Has Not Acquired Secondary Meaning
     5        “[S]econdary meaning . . . occurs when, in the minds of the public, the
     6 primary significance of a [mark] is to identify the source of the product rather than
     7 the product itself.” Wal-Mart Stores, Inc. v. Samara Bros., Inc., 529 U.S. 205, 211
     8 (2000)(internal quotation omitted; alteration in original). Secondary meaning is
     9 assessed by looking to factors such as: (1) whether actual purchasers associate the
    10 dress with the source; (2) the degree and manner of advertising by the party seeking
    11 protection; (3) the length and manner of use of the dress, and (4) whether the use
    12 by the party seeking protection has been exclusive. Skechers U.S.A., Inc. v. Vans,
    13 Inc., 2007 U.S. Dist. LEXIS 88635 at *8 (C.D. Cal. Nov. 20, 2007)(emphasis
    14 added); citing Clamp Mfg. Co. v. Enco Mfg. Co., 870 F.2d 512, 517 (9th Cir. 1989).
    15        In the crowded field of similar looking sneakers, it is unlikely that consumers
    16 will associate the common elements and common overall look of Vans’ purported
    17 trade dress with Vans. Vans purported “Old Skool” trade dress consists of the
    18 following elements, apart from its trademark, the Side Stripe Mark: a rubberized
    19 sidewall with a consistent height around the perimeter of the shoe; the uppermost
    20 portion of the sidewall having a three-tiered or grooved appearance; a textured toe
    21 box outer around the front of the sidewall; and visible stitching. (An additional
    22 element, “the placement and proportion of these elements in relation to one
    23 another,” is so vague as to be essentially meaningless.) Numerous shoes in the
    24 marketplace have these elements. See page 2, supra; Butler Decl. Ex. D; Acosta
    25 Decl. Ex. 1. Use of the purported trade dress by Vans has been far from exclusive,
    26 and Vans will not be able to prove that purchasers associate the trade dress
    27 exclusively with Vans.
    28        The secondary meaning surveys conducted by Mr. Sowers are biased and
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     1 should not be given credence in the Court’s analysis. As addressed above, the
     2 surveys improperly limited the universe of respondents to “skate shoe” purchasers
     3 and introduced significant demand effect bias into the substance of the survey by
     4 constantly referring to the tested sneakers as “skate shoes.” To make matters worse,
     5 the surveys did not include any open-ended questions asking why respondents
     6 believed the “skate shoe” was made by Vans. Consequently, there is no way to
     7 evaluate the extent to which the responses were generated as a result of the biased
     8 questions. And finally, the Control shoe used by Mr. Sowers was a running shoe.
     9 Thus, the control was ineffective.
    10         Because Vans is unlikely to establish at trial (or summary judgment) that it
    11 owns a valid, protectable trade dress, the motion for preliminary injunction must
    12 fail.
    13         B.    Vans Cannot Establish A Likelihood Of Confusion
    14         To prove its claims of trademark infringement, Vans must establish that
    15 Walmart is using a mark that is confusingly similar to Vans’ Side Stripe Mark.6 In
    16 determining whether Walmart’s mark is confusingly similar, courts in the Ninth
    17 Circuit look to the Sleekcraft factors, set forth in AMF, Inc. v. Sleekcraft Boats, 599
    18 F. 2d 341, 348-49 (9th Cir. 1979), abrogated on other grounds by Mattel, Inc. v.
    19 Walking Mountain Prods., 353 F. 3d 792 (9th Cir. 2003).
    20         The list of factors is “neither exhaustive nor exclusive.” E. & J. Gallo Winery
    21 v. Gallo Cattle Co., 967 F.2d 1280, 1290 (9th Cir. 1992). Instead, “the factors are
    22 intended to guide the court in assessing the basic question of likelihood of
    23 confusion.” Id. (citing Eclipse Assoc. Ltd. v. Data General Corp., 894 F.2d 1114,
    24
    25         6
               In its motion papers, Vans lumped together the likelihood of confusion
       analysis for both its trademark and trade dress infringement claims. Since Vans’
    26 alleged trade dress consists of common elements and is not protectable, and the only
       arguably distinctive aspect is the Side Stripe Mark – which also is the basis for
    27 Vans’ trademark infringement claims – the likelihood of confusion analysis here
       will focus on the Side Stripe Mark as compared to Walmart’s side design.
    28
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     1 1118 (9th Cir. 1990)). “The presence or absence of a particular factor does not
     2 necessarily drive the determination of a likelihood of confusion.” Id. The factors
     3 should be considered together to determine, under the totality of the circumstances,
     4 whether a likelihood of confusion exists. See Pom Wonderful LLC v. Hubbard, 775
     5 F.3d 1118, 1125 (9th Cir. 2014) (quoting Entrepreneur Media, Inc. v. Smith, 279
     6 F.3d 1135, 1140 (9th Cir. 2002)). See also Ironhawk Techs., Inc. v. Dropbox, Inc.,
     7 994 F.3d 1107, 1118 (9th Cir. 2021).
     8         This eight-factor test for likelihood of confusion is pliant. Some factors are
     9 much more important than others, and the relative importance of each individual
    10 factor will be case-specific. Brookfield Commc'ns., Inc. v. W. Coast Entm't Corp.,
    11 174 F.3d 1036 (9th Cir. 1999). Although some factors - such as the similarity of the
    12 marks and whether the two companies are direct competitors - will always be
    13 important, it is often possible to reach a conclusion with respect to likelihood of
    14 confusion after considering only a subset of the factors. Id. at 1054 (citing
    15 Dreamwerks Prod. Group v. SKG Studio, 142 F.3d 1127, 1130-32 (9th Cir. 1998)).
    16         In this case, where the sneaker market is saturated with well-known,
    17 competing brands all selling shoes that look similar, Walmart submits that the
    18 similarity (or, in this case, the dissimilarity) of the marks at issue should be of
    19 paramount importance.
    20                1.    Similarity of the Marks
    21         The first Sleekcraft factor is of considerable importance to the likelihood of
    22 confusion analysis, given that “the greater the similarity between the two marks at
    23 issue, the greater the likelihood of confusion.” Adidas, 890 F.3d at 755, quoting
    24 GoTo.com, Inc. v. Walt Disney Co., 202 F.3d 1199,1206 (9th Cir. 2000).
    25         In this case, the Vans Side Stripe Mark looks nothing like Walmart’s side
    26 design. The designs are different shapes and give completely different commercial
    27 impressions. See page 2, supra.
    28         In addition to the very different logo designs used by the parties, Walmart’s
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     1 labeling also serves to differentiate the parties’ shoes. Prominent labeling bearing a
     2 distinguishing brand name, such as that used by Walmart, serves to dispel a
     3 likelihood of confusion. Spark Indus., LLC v. Kretek Int'l, Inc., 2014 U.S. Dist.
     4 LEXIS 125538 at *47-51 (C.D. Cal. Aug. 28, 2014).
     5         Numerous cases cited by the Spark court confirm that distinctive labeling is
     6 sufficient to avoid a likelihood of confusion, even if trade dress may be similar. For
     7 example, in First Brands Corp. v. Fred Meyer, Inc., the Ninth Circuit affirmed
     8 denial of a preliminary injunction based, in part, on finding that products were not
     9 likely to be confused where they looked similar but carried distinctive labels. First
    10 Brands Corp. v. Fred Meyer, Inc., 809 F.2d 1378, 1384 (9th Cir. 1987).
    11         In Aurora World, Inc. v. Ty Inc., the court considered the defendant’s use of
    12 its well-known logo on labeling and stated that “[t]he presence of such a prominent
    13 tag bearing [the defendant's] logo negates a claim of confusion.” Aurora World,
    14 Inc. v. Ty Inc., 719 F.Supp.2d 1115, 1163 (C.D. Cal. 2009). Similarly, in Walter v.
    15 Mattel, Inc., the court stated that “Otherwise similar marks are not likely to be
    16 confused where used in conjunction with the clearly displayed name and/or logo of
    17 the manufacturer.” Walter v. Mattel, Inc., 31 F.Supp.2d 751, 760 (C.D. Cal. 1998)
    18 aff'd, 210 F.3d 1108 (9th Cir. 2000).
    19         In this case, the accused shoes are sold at Walmart stores, with Walmart
    20 signage and labeling. In addition to the Walmart brand name, the shoes are sold
    21 with labeling of Walmart’s in-house apparel brands, Time and Tru, No Boundaries,
    22 and Wonder Nation. The in-house brand name also appears on the inside soles of
    23 the shoes and on the bottom outer soles of the shoes. Carroll Decl. ¶ 10, Ex. 1.
    24 Each of these in-house brands is a federally-registered trademark. Acosta Decl. ¶ 9;
    25 Ex. 2. This factor weighs strongly against a finding of likelihood of confusion.
    26               2.     Proximity of the Goods
    27         Although the parties are not competitors and exist in very different marketing
    28 and distribution channels and at very different price points, Walmart does not
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     1 contest that, under current case law, the parties’ shoes are in proximity to each other.
     2               3.    Strength
     3        The “[c]ommercial strength” of a mark “is based on actual marketplace
     4 recognition. . .” Groupion, 826 F.Supp.2d at 1165. Vans provided no persuasive
     5 evidence of such marketplace recognition of the Side Stripe Mark. None of Vans’
     6 surveys were directed to the Side Stripe Mark, and no other evidence focused on the
     7 purported strength of the mark. Consequently, this factor does not weigh in favor of
     8 a likelihood of confusion.
     9               4.    Actual Confusion
    10        Vans has not proffered competent, admissible evidence of actual confusion.
    11 As discussed in detail above and in the declaration of Sarah Butler, the confusion
    12 surveys conducted by Brian Sowers were biased and deeply flawed, leading to
    13 skewed results. In addition, they focused only on confusion relating to Vans’
    14 alleged trade dress rather than the Side Stripe Mark. Thus, Vans has not proffered
    15 any evidence of actual confusion regarding the Side Stripe Mark. Nevertheless,
    16 statements from several of the respondents belie Mr. Sowers’ conclusion of actual
    17 confusion, and in fact these statements demonstrate that the respondents were not
    18 confused due to the different side design on Walmart’s shoes:
    19        • “They look like Vans but are not Vans. The logo on the side is different
                from regular Vans.”
    20
              • “[the shoe is] a Vans knock off. The stripe is different and it is not the
    21          LaKai logo either.”
              • “This looks very similar to a pair of Vans shoes. The style looks similar to
    22
                a classic Vans, but the side logo is different.”
    23        • “They appear to be fake vans. They have the shape and design of Vans
                but the logo is wrong.”
    24
              • “They look like vans but I’m not sure if they are and the logo/design has
    25          been altered to not give away the answer so easily.”
    26        • “They kind of look like vans. The logo is similar but not the same so they
                aren’t vans.”
    27
    28        Thus, Mr. Sowers’ survey shows that not only are consumers not confused,
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     1 but they are not confused (at least in part) due to the difference between Vans’ Side
     2 Stripe Mark and Walmart’s side design.
     3        The only other evidence of actual confusion offered by Vans consists of
     4 unauthenticated, hearsay social media and internet posts, all of which lack
     5 foundation and are inadmissible. (ECF No. 21-39, Hoffman Decl. ¶ 8, Ex. 6.)
     6        As attested to by Tineke Carroll, Walmart’s Director of Product Development
     7 for its private brands, she is not aware of any incident in which any customer of
     8 Walmart confused the accused Walmart shoes with Vans’ shoes. Carroll Decl. ¶ 16.
     9 This factor weighs against a finding of likelihood of confusion.
    10               5.    Marketing and Distribution Channels
    11        The parties’ products and services are distributed through entirely distinct
    12 channels, which weighs against a finding of a likelihood of confusion. Safeworks,
    13 LLC v. Spydercrane.com, LLC, 2009 WL 4730821 (W.D. Wash. Dec. 7, 2009).
    14        As stated by Vans’ declarant, Daniel Callahan, Vans are sold at department
    15 stores and retailers such as Nordstrom, Journeys, Tillys, Urban Outfitters, PacSun,
    16 Famous Footwear, Foot Locker and Dick’s Sporting Goods, as well as more than
    17 450 Vans retail stores and on its website, www.vans.com. Callahan Decl. ¶ 20.
    18 Walmart’s accused shoes are sold at none of these outlets and are only sold at
    19 Walmart stores and on Walmart.com. Carroll Decl. ¶¶ 6, 15. Vans shoes are not
    20 sold at Walmart brick and mortar stores; and sales of Vans shoes on Walmart.com,
    21 if any, are by third-party sellers only, not by Walmart. Carroll Decl. ¶ 15.
    22        In addition, the marketing and advertising channels of the parties’ products
    23 are totally different. Advertising of Walmart’s shoes is limited. They are advertised
    24 primarily in Walmart’s circulars and other printed materials targeted to Walmart’s
    25 customers, and on Walmart’s website as a part of the collections of the respective
    26 Walmart private brands, together with clothing and other accessories. Carroll Decl.
    27 ¶ 14. Vans does not advertise in Walmart’s printed materials or on Walmart’s
    28 website.
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     1        Furthermore, the retail pricing of the parties’ shoes is vastly different. The
     2 average retail prices of the accused Walmart shoes are $13.94 for Time and Tru
     3 shoes, $17.23 for No Boundaries shoes, and $9.70 for Wonder Nation shoes. None
     4 of the Walmart shoes were sold at a retail price of more than $20. Carroll Decl. ¶
     5 11. Vans’ “Old Skool” shoes are sold at $60 or higher, and “Sk8-Hi” shoes are sold
     6 at $70 or higher. See Vans’ official website, https://www.vans.com/.
     7        No consumer is likely to see the parties’ products offered for sale side-by-side
     8 on a retail shelf. Moreover, Vans has not presented any evidence that Walmart
     9 targets the same group of consumers as Vans. This factor weighs against a finding
    10 of a likelihood of confusion.
    11               6.    Degree Of Care
    12        The parties -- and relevant authorities -- disagree about how much care
    13 consumers put into purchases of casual shoes. Compare L.A. Gear, Inc. v. Thom
    14 McAn Shoe Co. , 988 F.2d 1117, 1134 (Fed. Cir. 1993) (holding that purchasers of
    15 athletic shoes are not unsophisticated and casual in their purchases) to K-Swiss, Inc.
    16 v. USA Aisiqi Shoes, Inc., 291 F. Supp. 2d 1116, 1125 (C.D. Cal. 2003) (holding that
    17 consumers exhibit a low degree of care in purchasing athletic shoes). “Even if
    18 consumers exert a ‘low’ amount of care, however, the purchase of shoes is not such
    19 an impulse buy that consumers would not notice the brand markings that would
    20 prevent confusion.” Skechers, 2007 U.S. Dist. LEXIS 88635 at **21-22.
    21 “[P]urchasers tend to use such ordinary caution as is reasonable with respect to
    22 inexpensive, disposable goods.” Id., quoting Lindy Pen Co. v. Bic Pen Corp., 725
    23 F.2d 1240, 1246 (9th Cir. 1984).
    24        Walmart’s prominent labeling and marking of its brands on the accused shoes
    25 reduces the likelihood of any confusion. Even “[w]here marketing channels
    26 overlap, consumers will be able to differentiate between the brands based on
    27 conspicuous brand markings.” Skechers, 2007 U.S. Dist. LEXIS 88635 at *22.
    28        This factor weighs against a finding of likelihood of confusion.
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     1               7.     Walmart’s intent in selecting the mark
     2         An accused infringer’s adoption of a mark with knowledge of the trademark
     3 holder supports an inference of confusion only where the infringer selected the mark
     4 to trade off the plaintiff’s goodwill. See Jewelers Vigilance Comm., Inc. v.
     5 Ullenberg Corp., 853 F.2d 888, 891 (Fed. Cir. 1988) (“[P]roof of intent to trade on
     6 another’s goodwill, [is] persuasive evidence of likelihood of confusion.”);
     7 Entrepreneur, 279 F.3d at 1148 (“intent to deceive is strong evidence of a likelihood
     8 of confusion.”).
     9         The clear labeling of the accused shoes with Walmart’s brand names and the
    10 significant difference between the Walmart design and Vans Side Stripe Mark
    11 negates any inference of intent to trade on Vans’ mark. See Aromatique, Inc. v. Gold
    12 Seal, Inc., 28 F.3d 863, 871 (8th Cir. 1994). Moreover, Walmart’s communications
    13 with Vans in March and April 2021 reflects Walmart’s good faith belief that its
    14 shoes are not infringing.
    15         Even assuming, arguendo, that Walmart intended to copy the look of Vans
    16 shoes, it is the intent to profit by confusing customers that is actionable under
    17 trademark law, not the intent to copy. See Skechers, 2007 U.S. Dist. LEXIS 88635 at
    18 *22 (citation omitted).
    19         Vans provided no evidence of bad intent on the part of Walmart. It argued
    20 that Walmart continued selling its shoes after receiving notice of alleged
    21 infringement from Vans in March 2021. (ECF No. 21-1, Vans Br. 21.) However,
    22 Vans ignored the fact that Walmart refuted Vans’ allegations. After that response
    23 from Walmart in April 2021, Walmart did not hear from Vans again until the
    24 complaint was filed. Walmart has operated believing its shoes are non-infringing.
    25         This factor weighs against a finding of likelihood of confusion.
    26               8.     Likelihood of expansion
    27         Vans has not provided any evidence that Walmart may expand into its market.
    28 Walmart goods are sold at Walmart and on Walmart.com only. There is no
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     1 evidence that Vans and Walmart pursue the same customers, or that Walmart is
     2 likely to expand to pursue Vans’ customers. This factor weighs against finding a
     3 likelihood of confusion.
     4 VII. NO INJUNCTION COULD ISSUE ABSENT A VERY LARGE BOND
     5         The motion for preliminary injunction should be denied. But if the Court is
     6 inclined to grant the motion, a very significant bond must be posted. “The court
     7 may issue a preliminary injunction . . . only if the movant gives security in an
     8 amount that the court considers proper to pay the costs and damages sustained by
     9 any party found to have been wrongfully enjoined or restrained.” Fed. R. Civ. P.
    10 65(c). “The purpose of the bond is to provide a source of compensation for the
    11 enjoined party for all costs and damages sustained as a result of the injunction if it is
    12 later determined that the injunction should not have issued.” First Interstate Bank of
    13 Oregon, N.A. v. Nat'l Bank & Trust Co. of Norwich, N.A., 1991 WL 27442 (D. Or.
    14 Feb. 22, 1991). To cover the tremendous losses Walmart will suffer if it is
    15 wrongfully enjoined from selling the accused shoes, Walmart requests that no
    16 injunction issue absent a bond in the amount of $30 million.
    17
    18 DATED: January 24, 2022               KINSELLA WEITZMAN ISER
                                             KUMP & ALDISERT LLP
    19
    20
    21
                                             By:         /s/ Lawrence Y. Iser
    22                                             Lawrence Y. Iser
    23                                             Attorneys for Defendant WALMART INC.

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